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				WITHDRAWN2021 OK CR 3Decided: 08/31/2021
Cite as: 2021 OK CR 3, __  __

				





	Citationizer© Summary of Documents Citing This Document
	
	
		
		Cite
		Name
		Level
		
	
	
	

Oklahoma Court of Criminal Appeals Cases
&nbsp;CiteNameLevel

&nbsp;2021 OK CR 4, HOGNER v. STATEDiscussed
&nbsp;2021 OK CR 6, 485 P.3d 867, SIZEMORE v. STATECited
&nbsp;2021 OK CR 7, 485 P.3d 873, SPEARS v. STATEDiscussed at Length
&nbsp;2021 OK CR 8, 485 P.3d 250, GRAYSON v. STATECited
&nbsp;2021 OK CR 21, STATE ex rel. MATLOFF v. WALLACEDiscussed
&nbsp;2021 OK CR 23, BOSSE v. STATEDiscussed
&nbsp;2021 OK CR 27, ROTH v. STATECited
&nbsp;2021 OK CR 30, BOSSE v. STATECited


	
	
	Citationizer: Table of Authority
	
	
		
		Cite
		Name
		Level
		
	
	
	None Found.
	
	








				
					
					
				

		
		




	
		
			
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